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                     IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
KASHMAN HARRIS                       :
                                     :    CIVIL ACTION
            Plaintiff,               :
                                     :    No. 21-1636-JMG
      v.                             :
                                     :
SKIPPACK EMERGENCY MEDICAL           :
SERVICES, INC.                       :
                                     :
            Defendant.               :
____________________________________ :

               STIPULATION TO PERMIT PLAINTIFF TO FILE A
          SECOND AMENDED COMPLAINT PURSUANT TO FED R.CIV.P. 15
                        AND TO AMEND CAPTION

       The Parties in the above-captioned matter hereby stipulate as follows:

        1.     Plaintiff is permitted to file a Second Amended Complaint in the form attached
hereto, and that the Second Amended Complaint shall be deemed filed as of the date the Second
Amended Complaint is filed following Court approval of this Stipulation;

        2.       Defendant reserves all rights with respect to the merits of the claims set forth in
Plaintiff’s Second Amended Complaint and nothing herein shall be construed as a waiver of any
defenses or arguments with respect thereto by Defendant, including but not limited to
jurisdiction, statute of limitations, and failure to exhaust administrative remedies;

      3.     Defendant shall have thirty (30) days from the date Plaintiff’s Second Amended
Complaint is filed to file an Answer or otherwise move in response to Plaintiff’s Second
Amended Complaint.
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       4.     The new caption of this action shall be as follows:


____________________

KASHMAN HARRIS         :
Plaintiff,             :
v.                     :
                       :
SEMS, INC. t/a          :
Skippack Emergency     :
Medical Services, Inc. :
                                             No. 21-1636
Defendant.             :
_____________________




/s/ Adam C. Lease                          /s/ Tracy A. Walsh
Adam C. Lease, Esq.                        Tracy A. Walsh, Esq.
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Attorneys for Plaintiff                    Attorneys for Defendant



                                           BY THE COURT:




                                            /s/ John M. Gallagher
                                           ___________________________________
                                           John M. Gallagher
                                           United States District Court Judge

                                                  08/26/2021
                                           Dated: _____________________
